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FSF COURT
UNITED STATES DISTRICT COURT =U 3 DBF LA
MIDDLE DISTRICT OF LOUISIANA vg WAR 244A UH 50
GRAND JURY RETURN oF DEPUTY CLENS

Date: March 24, 2005

UNITED STATES OF AMERICA
CRIMINAL

NO. O5-85-A-Yz

VERSUS

WEN CHYU LIU, a/k/a
DAVID W. LIOU

PRESENT: lan F. Hipwell, Esq.
Susan Amundson, Esq.
Counsel for U.S.A.

Warrant of arrest issue and this matter be placed under SEAL pending the arrest
of the defendant.

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